Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Frehoo, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Stars Cabaret & Steakhouse
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4570 SW Lombard
                                  Beaverton, OR 97075
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washington                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.starscabaret.com (ClOSED)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                              Case 16-34137-thp7                 Doc 1        Filed 10/31/16
Debtor    Frehoo, Inc.                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                                  Case 16-34137-thp7                 Doc 1         Filed 10/31/16
Debtor   Frehoo, Inc.                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                              Case 16-34137-thp7                   Doc 1        Filed 10/31/16
Debtor    Frehoo, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 31, 2016
                                                  MM / DD / YYYY


                             X   /s/ Randy Kaiser                                                         Randy Kaiser
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Financial Manager




18. Signature of attorney    X   /s/ Douglas P. Cushing                                                    Date October 31, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Douglas P. Cushing
                                 Printed name

                                 Jordan Ramis, PC
                                 Firm name

                                 Two Centerpointe Dr
                                 6th Flr
                                 Lake Oswego, OR 97035-8619
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     503-598-7070                  Email address      doug.cushing@jordanramis.com

                                 700320
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                             Case 16-34137-thp7                   Doc 1        Filed 10/31/16
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Oregon
 In re       Frehoo, Inc.                                                                                     Case No.
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 16,475.00
             Prior to the filing of this statement I have received                                        $                     6,475.00
             Balance Due                                                                                  $                 10,000.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiation of reaffirmation agreements and applications as needed.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Negotiations with secured creditors; representation of the debtors in any dischargeability actions, judicial lien
               avoidances, relief from stay actions or any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 31, 2016                                                         /s/ Douglas P. Cushing
     Date                                                                     Douglas P. Cushing
                                                                              Signature of Attorney
                                                                              Jordan Ramis, PC
                                                                              Two Centerpointe Dr
                                                                              6th Flr
                                                                              Lake Oswego, OR 97035-8619
                                                                              503-598-7070 Fax: 503-598-7373
                                                                              doug.cushing@jordanramis.com
                                                                              Name of law firm




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                                                   Case 16-34137-thp7           Doc 1        Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 31, 2016                        X /s/ Randy Kaiser
                                                                       Signature of individual signing on behalf of debtor

                                                                       Randy Kaiser
                                                                       Printed name

                                                                       Financial Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                   Case 16-34137-thp7                     Doc 1        Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name            Frehoo, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           298,053.64

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           298,053.64


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            30,501.79


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            44,571.51

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       17,872,588.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         17,947,661.75




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                              Case 16-34137-thp7                                   Doc 1              Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Wells Fargo Bank (closed)                                Accounts Payable             2282                                             $0.00




           3.2.    Wells Fargo Bank (closed)                                Payroll                      2274                                             $0.00




           3.3.    Wells Fargo Bank (closed)                                Purchases                    1915                                             $0.00




           3.4.    Wells Fargo Bank (closed)                                C/C Lottery                  8939                                             $0.00




           3.5.    Wells Fargo Bank (closed)                                Compliance Account           8692                                             $0.00



 4.        Other cash equivalents (Identify all)


           4.1.    ATM Machines                                                                                                                           $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                                   Case 16-34137-thp7              Doc 1      Filed 10/31/16
 Debtor           Frehoo, Inc.                                                                     Case number (If known)
                  Name




           4.2.     Deferred Finance Charge                                                                                        $1,134.39




 5.        Total of Part 1.                                                                                                    $1,134.39
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposits                                                                                                         $400.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid Insurance - General Liability - Burlington Insurance Company                                         $11,791.13




 9.        Total of Part 2.                                                                                                   $12,191.13
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                                     4,406.99   -                          4,406.99 =....               $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               533,009.00       -                       533,009.00 =....                $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    32,744.31   -                               0.00 =....      $32,744.31
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               116,147.12       -                               0.00 =....    $116,147.12
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     9,378.89   -                               0.00 =....        $9,378.89
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 2
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                                                   Case 16-34137-thp7                  Doc 1       Filed 10/31/16
 Debtor         Frehoo, Inc.                                                                          Case number (If known)
                Name




           11b. Over 90 days old:                               125,398.73      -                                   0.00 =....                  $125,398.73
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                    559.07     -                                   0.00 =....                       $559.07
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                 $284,228.12
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Alcohol Inventory;
           Non-Alcoholic Beverage
           Inventory; Food
           Inventory; Bar Supplies;
           Janitorial Supplies;
           Merchandise Inventory                      May 31, 2016                            $16,916.66                                           Unknown




 23.       Total of Part 5.                                                                                                                         $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 3
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                                                   Case 16-34137-thp7                     Doc 1       Filed 10/31/16
 Debtor         Frehoo, Inc.                                                                  Case number (If known)
                Name

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture                                                                        $0.00    Book                                Unknown



 40.       Office fixtures
           Light equipment                                                                  $0.00    Book                                Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Air conditioners                                                                 $0.00    Book                                Unknown


           Bar Equipment                                                                    $0.00    Book                                Unknown


           Computers, other                                                                 $0.00    Book                                Unknown


           Sound equipment                                                                  $0.00    Book                                Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Artwork                                                                   $0.00     Book                                Unknown



 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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                                                   Case 16-34137-thp7              Doc 1      Filed 10/31/16
 Debtor         Frehoo, Inc.                                                                  Case number (If known)
                Name



           General description                                                Net book value of       Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Used bus                                                               $0.00     Liquidation                            $500.00


           47.2.     1996 Chevy Buick, VIN Number
                     1GBLP37N3T3302045                                                 Unknown                                             Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Signage                                                                     Unknown        Book                                 Unknown



 51.       Total of Part 8.                                                                                                              $500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     4570 SW Lombard
                     Beaverton, OR 97075                  lease                             $0.00                                          Unknown




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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                                                   Case 16-34137-thp7              Doc 1      Filed 10/31/16
 Debtor         Frehoo, Inc.                                                                 Case number (If known)
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Frehoo, Inc, et al. v. E.G., Depaul Industries, and
            Anthony L. Curry; Third Party Complaint
            Washington County Circuit Court Case No. 16CV21468                                                                    Unknown
            Nature of claim            Intentional Infliction of
                                       Emotional Distress, Negligence
            Amount requested                         $4,000,000.00


            Frehoo, Inc, et al. v. State of Oregon, by and through its
            Department of Human Services
            Washington County Circuit Court Case No. 16CV21469                                                                    Unknown
            Nature of claim            Negligent Infliction of Emotional
                                       Distress, Negligence
            Amount requested                        $4,000,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 6
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                                                   Case 16-34137-thp7              Doc 1      Filed 10/31/16
 Debtor         Frehoo, Inc.                                                                 Case number (If known)
                Name


 78.       Total of Part 11.                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 7
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                                                   Case 16-34137-thp7              Doc 1      Filed 10/31/16
 Debtor          Frehoo, Inc.                                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,134.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $12,191.13

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $284,228.12

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                           $500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $298,053.64           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $298,053.64




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 8
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                                                       Case 16-34137-thp7                            Doc 1            Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Axis Capital, Inc.                             Describe debtor's property that is subject to a lien                          $0.00               Unknown
       Creditor's Name                                leased equipment
       308 N. Locust Street, Suite
       100
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien
                                                      UCC Filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7529
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Garvey Schubert Barer                          Describe debtor's property that is subject to a lien                   $27,064.11                $20,000.00
       Creditor's Name                                $20,000 retainer deposit
       121 SW Morrison St, Suite
       11
       Portland, OR 97204
       Creditor's mailing address                     Describe the lien
                                                      Attorney's lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                                                   Case 16-34137-thp7                      Doc 1        Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                             Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Washington County
 2.3                                                                                                                            $3,437.68                  $0.00
        Property Taxes                                Describe debtor's property that is subject to a lien
        Creditor's Name                               Property located at 4570 SW Lombard,
                                                      Beaverton OR 97075
        PO Box 3587
        Portland, OR 97208
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        7/1/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4831
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $30,501.79

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                                   Case 16-34137-thp7                      Doc 1        Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $995.79         $995.79
           Federal Unemployment Tax Act                              Check all that apply.
           Payable                                                      Contingent
           PO Box 7704                                                  Unliquidated
           San Francisco, CA 94120                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $26,216.57          $26,216.57
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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                                                   Case 16-34137-thp7                          Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,304.01    $4,304.01
          Oregon State Unemployment Tax                              Check all that apply.
          Payabl                                                        Contingent
          875 Union St. NE                                              Unliquidated
          Salem, OR 97311                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,084.00    $10,084.00
          State of Oregon - Payroll                                  Check all that apply.
          withholding                                                   Contingent
          875 Union St. NE                                              Unliquidated
          Salem, OR 97311                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $537.60     $537.60
          State of Oregon - Worker's                                 Check all that apply.
          Compensation                                                  Contingent
          350 Winter St NE                                              Unliquidated
          PO Box 14480                                                  Disputed
          Salem, OR 97309
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,284.55    $1,284.55
          Tri-Met Tax Payable                                        Check all that apply.
          955 Center Street NE                                          Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 7
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                                                   Case 16-34137-thp7                          Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                                    Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,148.99    $1,148.99
           US Treasury                                               Check all that apply.
           PO Box 409101                                                Contingent
           Ogden, UT 84409                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $4,000,000.00
           A.G. by John Lamborn Guardian ad Litem                                      Contingent
           1111 E. Burnside St, Suite 300
                                                                                       Unliquidated
           Portland, OR 97214
                                                                                       Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                         Basis for the claim:     Washington County Circuit Court Case No.
                                                                                   16CV21468
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $8,000,000.00
           Aggrieved Person #1 and #2                                                  Contingent
           1111 E. Burnside St, Suite 300
                                                                                       Unliquidated
           Portland, OR 97214
                                                                                       Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                         Basis for the claim:     Bureau of Labor and Industries Case No. 37-16
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $122,285.13
           Buchanan Angeli Altschul & Sullivan, LLP                                    Contingent
           321 SW 4th Ave, Suite 600                                                   Unliquidated
           Portland, OR 97204                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,782.00
           Canby 170, LLC                                                              Contingent
           PO Box 629                                                                  Unliquidated
           Beaverton, OR 97075                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $444.73
           City of Beaverton                                                           Contingent
           PO Box 4755                                                                 Unliquidated
           Beaverton, OR 97076                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 3 of 7
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                                                   Case 16-34137-thp7                          Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                            Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $570.00
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,596.25
          Cook Security Group                                                   Contingent
          5841 SE International Way                                             Unliquidated
          Portland, OR 97222
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,825.00
          David Wright Tremaine, LLP                                            Contingent
          1300 SW Fifth Avenue                                                  Unliquidated
          Portland, OR 97201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $235,073.88
          Exit 290, LLC                                                         Contingent
          17937 SW McEwan Rd                                                    Unliquidated
          Suite 250                                                             Disputed
          Portland, OR 97224
                                                                             Basis for the claim:    Money advanced
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,614.39
          Hoevet Boise & Olson, PC                                              Contingent
          1000 SW Broadway Street, Suite 1500                                   Unliquidated
          Portland, OR 97205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $498.11
          Integra Telecom                                                       Contingent
          PO Box 2966                                                           Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,552.56
          MJ10, Inc.                                                            Contingent
          17937 SW McEwan Rd                                                    Unliquidated
          Suite 100                                                             Disputed
          Portland, OR 97224
                                                                             Basis for the claim:    Money advanced
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 7
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                                                   Case 16-34137-thp7                   Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                            Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $603,905.17
          NPC Concepts, LLC                                                     Contingent
          16869 SW 6th Ave, Suite 504                                           Unliquidated
          Lake Oswego, OR 97035                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Management fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165.93
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $356,828.89
          Olson Brooksby PC                                                     Contingent
          520 SW Yamhill Street                                                 Unliquidated
          Portland, OR 97204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.90
          Pacific Office Automation                                             Contingent
          PO Box 41602                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Copy equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,478.68
          PGE                                                                   Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114.30
          Pitney Bowes Global 1615                                              Contingent
          PO Box 371887                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Postage equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $4,000,000.00
          S.H. by Ashley Vaugn, Guardian ad Litem                               Contingent
          1111 East Burnside Street, Suite 300
                                                                                Unliquidated
          Portland, OR 97214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Washington County Circuit Court Case No.
                                                                             16CV21469
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 7
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                                                   Case 16-34137-thp7                   Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                            Case number (if known)
              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $200,902.95
           SCS2, Inc.                                                           Contingent
           17937 SW McEwan Rd, Suite 250                                        Unliquidated
           Portland, OR 97224                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $194,644.25
           SCTO, Inc                                                            Contingent
           17937 SW MCEWAN RD STE 250                                           Unliquidated
           Portland, OR 97224                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $482.55
           SESAC, Inc.                                                          Contingent
           55 Music Square East                                                 Unliquidated
           Nashville, TN 37203                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Recovering fees
           Last 4 digits of account number      1601
                                                                             Is the claim subject to offset?         No    Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $14,629.75
           Wells Fargo Business Card                                            Contingent
           PO Box 51193                                                         Unliquidated
           Los Angeles, CA 90051                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      6812
                                                                             Is the claim subject to offset?         No    Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $70,194.03
           WTH, Inc                                                             Contingent
           197 NE Third Street                                                  Unliquidated
           Bend, OR 97701                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Law Office of Joel Shapiro
           1420 NW Lovejoy St, Suite 631                                                              Line     3.19
           Portland, OR 97209
                                                                                                             Not listed. Explain

 4.2       Law Office of Joel Shapiro
           1420 NW Lovejoy St, Suite 631                                                              Line     3.1
           Portland, OR 97209
                                                                                                             Not listed. Explain

 4.3       Law Office of Joel Shapiro
           1420 NW Lovejoy St, Suite 631                                                              Line     3.2
           Portland, OR 97209
                                                                                                             Not listed. Explain


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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                                                   Case 16-34137-thp7                   Doc 1           Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                        Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.4       Maloney Lauersdorf Reiner, PC
           1111 E. Burnside Street, Suite 300                                                    Line     3.19
           Portland, OR 97214
                                                                                                        Not listed. Explain

 4.5       Maloney Lauersdorf Reiner, PC
           1111 E. Burnside Street, Suite 300                                                    Line     3.1
           Portland, OR 97214
                                                                                                        Not listed. Explain

 4.6       Maloney Lauersdorf Reiner, PC
           1111 E. Burnside Street, Suite 300                                                    Line     3.2
           Portland, OR 97214
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    44,571.51
 5b. Total claims from Part 2                                                                       5b.    +     $                17,872,588.45

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   17,917,159.96




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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                                                   Case 16-34137-thp7                  Doc 1       Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Leased equipment
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Axis Capital, Inc.
             List the contract number of any                                           308 N. Locust Street, Suite 100
                   government contract                                                 Grand Island, NE 68801


 2.2.        State what the contract or                   (Possible) Asset
             lease is for and the nature of               Purchase and Sale
             the debtor's interest                        Agreement - all assets
                                                          of Frehoo less limited
                                                          exclusions.
                  State the term remaining
                                                                                       Beaverton Hospitality, Inc.
             List the contract number of any                                           1875 Tandem Way
                   government contract                                                 Norco, CA 92860


 2.3.        State what the contract or                   Management contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       NPC Concepts, LLC
             List the contract number of any                                           16869 SW 6th Ave, Suite 504
                   government contract                                                 Lake Oswego, OR 97035


 2.4.        State what the contract or                   Leased building at 4570
             lease is for and the nature of               SW Lombard,
             the debtor's interest                        Beaverton, OR 97075

                  State the term remaining
                                                                                       NPC Properties, LLC
             List the contract number of any                                           16869 SW 6th Ave, Suite 504
                   government contract                                                 Lake Oswego, OR 97035




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                   Case 16-34137-thp7               Doc 1     Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      SCS2, Inc.                        16869 65th Ave, Suite 504                         Axis Capital, Inc.                 D
                                               Lake Oswego, OR 97035                                                                E/F
                                                                                                                                    G   2.4




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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                                                   Case 16-34137-thp7          Doc 1      Filed 10/31/16
 Fill in this information to identify the case:

 Debtor name         Frehoo, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                          04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                           Gross revenue
       which may be a calendar year                                                            Check all that apply                         (before deductions and
                                                                                                                                            exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                $442,019.26
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                              $1,202,003.96
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Ball Janik, LLP                                             08/01/2016                         $7,500.00          Secured debt
               101 SW Main St, Suite 1100                                                                                        Unsecured loan repayments
               Portland, OR 97204                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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                                                   Case 16-34137-thp7                   Doc 1        Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                              Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Buchanan, Angeli Altschul & Sullivan                        07/27/2016,                      $85,477.50           Secured debt
               321 SW 4th Ave, Suite 600                                   08/03/2016,                                           Unsecured loan repayments
               Portland, OR 97204                                          08/10/2016,                                           Suppliers or vendors
                                                                           08/17/2016,
                                                                                                                                 Services
                                                                           08/24/2016,
                                                                           08/31/2016,                                           Other
                                                                           09/01/2016,
                                                                           09/07/2016,
                                                                           09/21/2016,
                                                                           09/28/2016,
                                                                           09/28/2016,
                                                                           10/17/2016
       3.3.
               First Insurance Funding                                     08/25/2016,                      $37,169.34           Secured debt
               450 Skokie Blvd                                             09/19/2016,                                           Unsecured loan repayments
               Northbrook, IL 60062                                        10/19/2016                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Jordan Ramis PC                                             09/12/2016,                      $43,436.00           Secured debt
               Two Centerpointe Drive                                      10/26/2016                                            Unsecured loan repayments
               6th Flr                                                                                                           Suppliers or vendors
               Lake Oswego, OR 97035
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Midland National Insurance                                  08/17/2016,                        $6,628.11          Secured debt
               4350 Westown Pkwy                                           09/17/2016,                                           Unsecured loan repayments
               West Des Moines, IA 50266                                   10/17/2016                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               NPC Properties, LLC#0723                                    08/15/2016,                      $35,399.00           Secured debt
               16869 SW 6th Ave, Suite 504                                 09/01/2016,                                           Unsecured loan repayments
               Lake Oswego, OR 97035                                       08/31/2016,                                           Suppliers or vendors
                                                                           10/01/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Olson Brooksby, PC                                          08/18/2016,                      $78,244.32           Secured debt
               520 SW Yamhill St, Suite 200                                09/15/2016,                                           Unsecured loan repayments
               Portland, OR 97204                                          09/29/2016                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Robert Stewart and Associates                               09/12/2016,                      $10,911.74           Secured debt
               1747 E Morten Ave, Suite 105                                09/22/2016                                            Unsecured loan repayments
               Phoenix, AZ 85020                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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 Debtor       Frehoo, Inc.                                                                              Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               US Financial Services, Inc.                                 08/01/2016,                        $6,695.00               Secured debt
                                                                           09/01/2016,                                                Unsecured loan repayments
                                                                           10/01/2016,
                                                                                                                                      Suppliers or vendors
                                                                           10/24/2016
                                                                                                                                      Services
                                                                                                                                      Other


       3.10
       .
            Exit 290, LLC                                                  09/16/2016,                      $53,400.00                Secured debt
               17937 SW McEwan Rd, Suite 250                               09/29/2016,                                                Unsecured loan repayments
               Portland, OR 97224                                          09/30/2016,
                                                                                                                                      Suppliers or vendors
                                                                           10/14/2016
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    NPC Concepts, Inc.                                          12/31/2015                       $30,000.00           Management fee
               16869 SW 6th Ave, Suite 504
               Lake Oswego, OR 97035
               Sole shareholder

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       Cook Security                                             Security system hard drive.                                   January 2016                         $0.00
       5841 SE International Way
       Portland, OR 97222


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




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                                                   Case 16-34137-thp7                   Doc 1        Filed 10/31/16
 Debtor       Frehoo, Inc.                                                                                  Case number (if known)




           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    S.H., a minor, by Ashley                          Damages                      Washington County Circuit                   Pending
               Vaughn, as he Guardian ad                                                      Court                                       On appeal
               Litem                                                                          145 NE 2nd Ave
                                                                                                                                          Concluded
               16cv21469                                                                      Hillsboro, OR 97124

       7.2.    A.G., a minor, by Josh                            Damages                      Washington County Circuit                   Pending
               Lamborn, as her Guardian ad                                                    Court                                       On appeal
               Litem                                                                          145 NE 2nd Ave
                                                                                                                                          Concluded
               16cv21468                                                                      Hillsboro, OR 97124

       7.3.    In the Matter of Frehoo, Inc, et                  Labor and                    Bureau of Labor and                         Pending
               al., and Pamela Colburn, et al.                   Employment                   Industries                                  On appeal
               37-16                                                                          1045 State Office Building
                                                                                                                                          Concluded
                                                                                              800 NE Oregon Street
                                                                                              Portland, OR 97232


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value

       9.1.    Innocence Project                                 Cash
               PO Box 5248
               Portland, OR 97208                                                                                           April 28, 2016                     $625.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Cash theft                                                                                                           Various dates                    $2,539.00


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 4
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                                                   Case 16-34137-thp7                      Doc 1         Filed 10/31/16
 Debtor        Frehoo, Inc.                                                                              Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Jordan Ramis PC
                 Attn: Doug Cushing
                 Two Centerpointe Drive
                 6th Flr
                 Lake Oswego, OR 97035                                                                                                                $5,000.00

                 Email or website address
                 www.jordanramis.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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 Debtor        Frehoo, Inc.                                                                             Case number (if known)



                 Facility name and address                       Nature of the business operation, including type of services        If debtor provides meals
                                                                 the debtor provides                                                 and housing, number of
                                                                                                                                     patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  VIP Customer list
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Wells Fargo Bank                                XXXX-2282                   Checking                                                     $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Wells Fargo Bank                                XXXX-2274                   Checking                                                     $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     Wells Fargo Bank                                XXXX-1915                   Checking                                                     $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.     Wells Fargo Bank                                XXXX-8939                   Checking                                                     $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other



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                                                   Case 16-34137-thp7                   Doc 1        Filed 10/31/16
 Debtor        Frehoo, Inc.                                                                             Case number (if known)



                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was           Last balance
                 Address                                         account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.5.     Wells Fargo Bank                                XXXX-8692                   Checking                                                      $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Single Family Home                                            Randy Kaiser                         Records and miscellaneous               No
       15505 NE Arndt Road                                           Jeff Struhar                         items.                                  Yes
       Aurora, OR 97002                                              Todd Mitchell
                                                                     Kevin Sruhar



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Auto Chlor                                                    Beaverton, Oregon                    Dishwasher                                 Unknown
       19475 SW 118th Ave
       Tualatin, OR 97062


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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 Debtor      Frehoo, Inc.                                                                               Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Wayne Newell                                                                                                               April 2014 - July
                                                                                                                                               2016

       26a.2.       Amy Capka                                                                                                                  May 2014 - October
                                                                                                                                               2016

       26a.3.       Jasmine Stoner                                                                                                             January 2014 -
                                                                                                                                               October 2016

       26a.4.       Donald F. Kirby                                                                                                            January 2014 -
                                                                                                                                               October 2016


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None




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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Donald F. Kirby                                                                                                      January 2014 -
                    17937 SW McEwan Rd, Suite 250                                                                                        October 2016
                    Portland, OR 97224

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Randy Kaiser
                    16869 SW 65th Ave, Suite 504
                    Lake Oswego, OR 97035

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Jon Herkenrath
       .                                                                                    May 31, 2016

                Name and address of the person who has possession of
                inventory records
                Frehoo, Inc.



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeff Struhar                                   25989 Butterville Rd                                President and Director
                                                      Aurora, OR 97002

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       NPC Concepts, LLC                              16869 SW 6th Ave, Suite 504                         Sole shareholder                      100%
                                                      Lake Oswego, OR 97035

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Randy Kaiser                                                                                       Financial Manager




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



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            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 NPC Concepts, LLC.
       .    16869 SW 6th Ave, Suite 504
               Lake Oswego, OR 97035                             30,000                                                  12/31/2015        Management fee

               Relationship to debtor
               Sole shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 31, 2016

 /s/ Randy Kaiser                                                         Randy Kaiser
 Signature of individual signing on behalf of the debtor                  Printed name

 Position or relationship to debtor         Financial Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                                       District of Oregon
 In re      Frehoo, Inc.                                                                              Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Financial Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       October 31, 2016                                        /s/ Randy Kaiser
                                                                     Randy Kaiser/Financial Manager
                                                                     Signer/Title




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                                                                         District of Oregon
 In re      Frehoo, Inc.                                                                                 Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Frehoo, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 NPC Concepts, LLC
 17937 SW McEwan Rd, Ste 250
 Portland, OR 97224




    None [Check if applicable]




 October 31, 2016                                                    /s/ Douglas P. Cushing
 Date                                                                Douglas P. Cushing
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Frehoo, Inc.
                                                                     Jordan Ramis, PC
                                                                     Two Centerpointe Dr
                                                                     6th Flr
                                                                     Lake Oswego, OR 97035-8619
                                                                     503-598-7070 Fax:503-598-7373
                                                                     doug.cushing@jordanramis.com




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